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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY



  PACIRA PHARMACEUTICALS,
  INC., and PACIRA BIOSCIENCES,             Civil Action No. 2:21-cv-19829
  INC.,                                     Civil Action No. 2:22-cv-00718
              Plaintiffs,                   (consolidated)
    v.
  eVenus PHARMACEUTICALS                    Assigned to:
  LABORATORIES, INC., JIANGSU               Judge Madeline Cox Arleo
  HENGRUI PHARMACEUTICALS                   Magistrate Judge José R. Almonte
  CO., LTD., and FRESENIUS KABI
  USA, LLC,
              Defendants.


         DEFENDANTS’ POST-CLOSING REBUTTAL STATEMENT
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        Pursuant to the Court’s authorization, Defendants provide the following

  responses to arguments raised by Pacira during its rebuttal at the May 7, 2024 closing

  arguments.

        Inequitable Conduct: Pacira offers piecemeal, after-the-fact excuses for Ms.

  Los’s and Dr. Dai’s actions; however, none of these excuses are persuasive in view

  of all the evidence, and none explain their overall pattern of conduct. See Luv n'

  Care, Ltd. v. Laurain, 98 F.4th 1081, 1098 (Fed. Cir. 2024) (“[I]t is not enough for

  a court to consider each individual act of misconduct without also considering the

  collective whole.”).1 Ms. Los and Dr. Dai affirmatively concealed key data from the

  PTO, then made arguments to the Examiner that were inconsistent with that

  concealed data in order to obtain the ’495 Patent. D.I. 365-1 (“FOF”) ¶¶ 437-78,

  494-553. The single most reasonable inference in view of the totality of evidence is

  an intent to deceive the PTO.

        Pacira’s withheld anticipatory one-month data is not “cumulative” to Figure

  3B, which does not disclose the actual, measured one-month data in Dr. Dai’s and

  Ms. Los’s possession; at most, it presents an unreliable “extrapolation.” Id. ¶¶ 338-

  43. Also, the Los Spreadsheet showed that multiple batches of EXPAREL®



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   In Luv n’ Care, which issued on April 12, 2024, the Federal Circuit remanded as
  the district court had only considered “individual acts of misconduct in isolation and
  failed to address the collective weight of the evidence regarding each person’s
  misconduct as a whole.” 98 F.4th at 1098.
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  anticipated claims 3 and 5. Id. ¶¶ 350-53. This information is not discernable from

  Figure 3B. Tr. 777:19-778:4 (Klibanov). Moreover, Dr. Dai and Ms. Los did not

  merely withhold data—they affirmatively concealed it through falsely stating in

  Table 1A that the data did not exist (“n/a”). FOF ¶¶ 354-59, 463-68, 493-504. Data

  is not “cumulative” if successfully concealed or misrepresented, even if it was

  provided to the PTO in some format. See Luv n' Care, 98 F.4th at 1098. Pacira’s

  only excuse for the use of “n/a” is that Ms. Los (who did not draft Table 1A) believed

  it was not possible to accurately report an average for the one-month timepoint,

  because certain batches had a value of less than 20 µg/mL. This “excuse” concedes

  that the use of “n/a” in Table 1A was an intentional drafting decision motivated by

  the anticipatory one-month data. However, it does not explain how “n/a” could be

  read as anything other than false or misleading, in the absence of the full underlying

  data, or why Ms. Los and Dr. Dai excluded the full batch data from the ’495 Patent.

           Similarly, although Pacira now concedes that there is no meaningful

  difference in stability at the one-, two-, and three-month timepoints (Trial Tr. 32:12-

  24), that is not what Dr. Dai and Ms. Los told the PTO. Instead, they consistently

  represented to the PTO that the “new” product had “improved stability” over all

  claimed timepoints. FOF ¶¶ 17-19, 26-38, 372-80. Moreover, Ms. Los knew that

  even the claimed six-month values were not novel based on the Ardekani Data,

  which she understood to reflect the properties of prior art EXPAREL®. Id. ¶¶ 505-



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  521, 531-32. Pacira’s withheld data was “directly at odds with its argument[s]

  during prosecution” to obtain the ’495 Patent, and was therefore but-for material.

  Belcher Pharms., LLC v. Hospira, 11 F.4th 1345, 1353 (Fed. Cir. 2013).

           Pacira speculates that in certain subsequent applications, examiners must have

  recognized that the specification disclosed anticipatory one-month data, because

  Pacira was allowed to add a clarifying footnote to Table 1A without “new matter”

  rejections. But the lack of a “new matter” rejection does not indicate the absence of

  new information: as Mr. Godici admitted, the footnote did contain new information.

  Tr. 855:12-24. The lack of “new matter” rejections reflects Dr. Dai’s meticulous

  prosecution strategy: she added the footnote only to applications without one-month

  claims, ensuring that it would only be analyzed by the PTO once it was no longer

  directly relevant to the patentability of any pending claims. FOF ¶¶ 562-574.

           Anticipation: Defendants are not relying on inherent anticipation, which

  generally arises when a printed publication does not expressly disclose a claim

  element. Rather, Defendants assert that the properties of a prior art batch of

  EXPAREL® may be inferred based on Pacira’s own testing of other batches of

  EXPAREL® made by the same process and same manufacturing lines. This is not

  “new law,” as it is well understood that a party may rely on non-prior art evidence

  to infer the properties of a prior art product. D.I. 365 at 27-28 (citing cases). In

  Exela Pharma Scis., LLC v. Eton Pharms., Inc., 620 F. Supp. 3d 108 (D. Del. 2022),



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  upon which Pacira relied, the court declined to infer the properties of a prior art batch

  based on only a single non-prior art certificate of analysis of a third-party product;

  here, a third of Pacira’s own tested batches met the claim limitations. The facts of

  this case necessitate a different outcome from Exela.

           Obviousness: Pacira stated that no witness testified that the small difference

  in erucic acid concentration lacked a meaningful impact.               Not true.     Dr.

  Schwendeman provided extensive testimony, explaining that the small difference of

  11 µg/mL between the claimed range and the prior art has no impact on the shelf

  life, release rate and pharmacokinetics of EXPAREL®. FOF ¶¶ 172-84.

           Non-Enablement: The Supreme Court’s 2023 Amgen decision does not only

  apply to antibodies. The Court set forth universal principles, including that “the

  more a party claims, the broader the monopoly it demands, the more it must enable.”

  Amgen v. Sanofi, 598 U.S. 594, 614 (2003). The Federal Circuit has applied Amgen

  to find patents not enabled, outside of antibodies. See In re Starrett, No. 2022-2209,

  2023 WL 3881360, at *4 (Fed. Cir. June 8, 2023) (computer readable medium).

  Here, Pacira claimed use of all commercial scale processes (regardless of volume),

  using steps known in the prior art, to yield an MVL composition with certain erucic

  acid concentration. Here, as in Amgen, the specification provides a “research

  assignment” to conduct trial-and-error testing to make compositions and then test

  them to see if they practice the claim. That is a “hunting license,” not enablement.



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           Non-Infringement: In Par Pharma. Inc. v. Hospira, Inc., 835 F. App’x 578

  (Fed. Cir. 2020), contrary to Pacira’s arguments, the Federal Circuit found

  infringement where the ANDA had a specification for the commercial product which

  addressed a claim limitation.2 Id. at 586 (“The ANDA states in a line entry in a

  table [of specifications] that its product satisfies the ICH Q3D guidelines, meaning

  that it can market and sell a product with up to 30% of the permitted daily exposure

  of transition metal impurities.”). Jiangsu Hengrui’s ANDA at issue here, however,

  has no specification that addresses the claim limitation for testing of erucic acid

  concentration at 25 oC. Par does not address whether infringement may be based

  only on development testing submitted to the FDA. In Ferring I, however, no

  infringement was found where no specification applied to the commercial product,

  despite testing conducted in development at the claimed conditions. Ferring BV. v.

  Watson Labs, Inc.-Fla., 764 F.3d 1401, 1409 (Fed. Cir. 2014). Pacira is correct that

  the development testing in that case was done on a product precursor, not the final

  commercial product (id.)—and that reinforces that the infringement inquiry must

  focus on the proposed commercial product. Here, there is no specification in the

  ANDA that calls for any erucic acid concentration after storage at 25 oC for the

  proposed commercial product.



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   The specification is explicitly identified in the briefing in the case. Ex. 1 (Excerpt
  of Par Pharma’s Appellate Brief) at 60.

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                                       /s/ Eric I. Abraham

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